Case 1:22-cv-10016-LAK Document 71-1 Filed 02/23/23 Page 1 of 4




 EXHIBIT A
        Case 1:22-cv-10016-LAK Document 71-1 Filed 02/23/23 Page 2 of 4

                                                                          Page 1
 1                       NATASHA STOYNOFF
 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4   -----------------------------------                   )
5    E. JEAN CARROLL,                                      )
6                        Plaintiff,                        ) Case No.
7             vs.                                          ) 20-Civ-7311
8    DONALD J. TRUMP, in his personal capacity) (LAK)(JLC)
9                        Defendants.                       )
10   -----------------------------------                   )
11
12
13                  DEPOSITION OF NATASHA STOYNOFF
14                        NEW YORK, NEW YORK
15                          OCTOBER 13, 2022
16
17
18
19
20
21
22
23
24   REPORTED BY:     Tina Alfaro, RPR, CRR, RMR
25   JOB NO. 218341
        Case 1:22-cv-10016-LAK Document 71-1 Filed 02/23/23 Page 3 of 4

                                                                          Page 20
1                        NATASHA STOYNOFF
2    interview.
3         Q.   Did you -- what happened -- withdraw.
 4             Did you ever leave the pool area with
 5   Donald Trump or Melania Trump?
 6        A.   Yes.
 7        Q.   With whom?
 8        A.   With Donald.
 9        Q.   And how did that happen?
10        A.   He -- Melania was going upstairs to
11   change -- excuse my emotions -- and Donald said,
12   Have you seen the so-and-so room?             Have you seen the
13   painting in the whatever room.            He wanted to show me
14   a painting or a room.        I said no.       He goes, I'd like
15   to show you.     So he took me to this room.
16        Q.   Do you recall what room it was at
17   Mar-a-Lago?
18        A.   I mean, I don't know how to -- I don't know
19   that it had a number on it, but all I remember is we
20   came in the back door, walked down the hallway, and
21   turned right into a room.          That's as I recall it,
22   but I haven't really seen pictures to know -- I
23   haven't really seen a layout of Mar-a-Lago to know
24   exactly what door.
25        Q.   And what happened when you got to the room?
           Case 1:22-cv-10016-LAK Document 71-1 Filed 02/23/23 Page 4 of 4

                                                                             Page 21
1                           NATASHA STOYNOFF
2            A.   I walked in and he -- I walked into the
 3   room first and I'm looking around the room wondering
 4   what does he want to show me.               Nice room, what does
5    he want to show me.           Then I hear the door close
6    behind me and I turn around and he's right here
7    (indicating), and he grabs my shoulders and pushes
8    me against this wall and starts kissing me.
9            Q.   And did he say anything when he started
10   kissing you?
11           A.   No.
12           Q.   Did he say anything before?
13           A.   Not that I recall.
14           Q.   And what was going through your mind when
15   Donald Trump did this?
16           A.   Complete shock.         Thank you.      Complete shock
17   because it was very fast and I was taken -- taken by
18   surprise.
19           Q.   And do you recall how you reacted?
20           A.   I recall pushing him back twice.                I recall
21   trying to say something, but not really being able
22   to.     I was so flustered.
23           Q.   And when you pushed him back the first time
24   do you recall how Donald Trump reacted?
25           A.   Yes.    He just came toward me again.


                      TSG Reporting - Worldwide· · 877-702-9580
